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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY
                                   CAMDEN DIVISION

THEODORE G. EIFERMAN, Individually,

               Plaintiffs,
vs.
                                                              Case No.
KYUNGRIM LEE, LLC, a New Jersey Limited
Liability Company,

               Defendant(s).




                                         COMPLAINT

       Plaintiff, THEODORE G. EIFERMAN, Individually, on his behalf and o n behalf of all

other mobility impaired individuals similarly situated, (sometimes referred to as "Plaintiff' or

"Plaintiffs"), hereby sue the Defendant(s), KYUNGRIM LEE, LLC, a New Jersey Limited

Liability Company, (sometimes referred to as "Defendants"), for Injunctive Relief, damages,

attorney's fees, litigation expenses, and costs pursuant to the Americans with Disabilities Act, 42

U.S.C. § 12181 et seq. ("ADA") and the New Jersey Law Against Discrimination (N.J.S.A.).



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                                 COUNT I
                       VIOLATION OF TITLE III OF THE
             AMERICANS WITH DISABILITIES ACT. 42 USC $ 12181. et sea.

1.      Plaintiff, Theodore G. Eiferman, is an individual residing at 2150 Route 38, Apt. 154W,

        Cherry Hill, NJ 08002, in the County of Camden.

2.      Defendant, KYUNGRIM LEE, LLC, holds title to the subject property alleged by the

        Plaintiffs to be operating in violation ofTitle III of the ADA.

3.      Defendant's property, 2431 Church Road Center, is located at 2431 Church Road, Cherry

        Hill, NJ 08002.

4.      Venue is properly located in the District of New Jersey because venue lies in the judicial

        district of the property situs. The Defendant's property is located in and doe s business

        within this judicial district.

5.      Pursuant to 28 U.S.C. § 1331 and 28 U.S.C. § 1343, this Court has been given original

        jurisdiction over actions which arise from the Defendant's violations of Title III of the

        Americans with Disabilities Act, 42 U.S.C. § 12181 et seg. See also 28 U.S.C. § 2201

        and § 2202.

6.      Plaintiff, Theodore G. Eiferman is a New Jersey resident, is sui juris, and qualifies as an

        individual with disabilities as defined by the ADA. Mr. Eiferman suffers from acute

        peripheral neuropathy, which condition requires him to use a wheelchair to ambulate.

        Mr. Eiferman has visited the subject property which forms the basis of this lawsuit on

        numerous occasions and plans to return to the property in the near future to avail himself

        of the goods and services offered to the public at the property.        The Plaintiff has

        encountered architectural barriers at the subject property. The barriers to access at the




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        property have endangered his safety.

7.      Defendant owns, leases, (or leases to), or operates a place of public accommodation as

        defined by the ADA and the regulations implementing the ADA, 28 CFR 36.201(a) and

        36.104. Defendant is responsible for complying with the obligations of the ADA. The

        place of public accommodation that the Defendant owns, leases, (or leases to), or

        operates is known as 2431 Church Road Center, and is located at 2431 Church Road,

        Cherry Hill, NJ 08002.

8.      THEODORE G. EIFERMAN has a realistic, credible, existing and continuing threat of

        discrimination from the Defendant's non-compliance with the ADA with respect to the

        subject property as described but not necessarily limited to the allegations in paragraph

        10 of this complaint. Plaintiffs have reasonable grounds to believe that they will continue

        to be subjected to discrimination in violation of the ADA by the Defendant. Theodore G.

        Eiferman desires to visit 2431 Church Road Center, not only to avail himself of the goods

        and services available at the property but to assure himself that this property is in

        compliance with the ADA so that he and others similarly situated will have full and equal

        enjoyment of the property without fear of discrimination.

9.      The Defendant has discriminated against the Plaintiff by denying him access to , and full

        and equal enjoyment of, the goods, services, facilities, privileges, advantages and/or

        accommodations of the buildings, as prohibited by 42 U.S.C. § 12182 et seg.

10.     The Defendant ha s discriminated, and continue to discriminate, against the Plaintiff in

        violation of the ADA by failing to, inter alia, have accessible facilities by January 26,

        1992 (or January 26, 1993, if Defendant has 10 or fewer employees and gross receipts of

        $500,000 or less). A preliminary inspection of 2431 Church Road Center has shown that




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   violations exist. These violations that Theodore G. Eiferman personally encountered or

   observed include, but are not limited to:

   Parking and Exterior Accessible Route

   a)     Parking spaces throughout 2431 Church Road C enter are not maintained, lack a
   compliant van access aisle, contain slopes beyond limits within parking spaces and lack
   compliant acce ssible routes from accessible parking, violating Sections 402 and 502 of
   the 2010 Accessibility Standards. These conditions during numerous visits prevented
   Mr. Eiferman from unloading from his van freely and safely.

   b)      2431 Church Road Center fails to provide the required amount of compliant
   accessible parking spaces, violating Section 502 of the 2010 Accessibility Standards.
   The lack of accessible parking makes Mr. Eiferman park in open areas so he can unload
   freely and safely from his van.

   c)     Curb ramps provided to access stores at 2431 Church Road Center a re unsafe for
   wheelchair users and are not provided in some areas of the center. The curb ramps
   impede the access aisle, contain excessive slopes, abrupt changes of level and lack level
   landings, violating Sections 402 and 406 of the 2010 Accessibility Standards. These
   conditions are unsafe for Mr. Eiferman when he accesses the curb ramps.

   d)      The exterior accessible route from parking spaces and throughout 2431 Church
   Road Center fails to provide a safe accessible route, violating Section 402 of the 2010
   Accessibility Standards. Mr. Eiferman was forced to travel in the traffic area of the
   center to get t o the curb ramp and had to deal with cross slopes and/or abrupt changes of
   level greater than M inch while accessing tenants.

   e)     2431 Churc h Road Center fails to provide a safe accessible route to the adjacent
   bus stop, street or sidewalk, violating Section 206.2.1 of the 2010 Accessibility
   Standards. The lack of a compliant accessible route prevents the option of public
   transportation for Mr. Eiferman.

   Access to Goods and Services

   f)      Payment counters throughout 2431 Church Road Center including Korean
   Restaurant, Tara's Nail Spa and 7 Hair are mounted beyond the reach of Mr. Eiferman,
   violating Sections 308 and 904 of the 2010 Accessibility Standards.

   g)    Korean Restaurant fails to provide accessible dining tables for those in
   wheelchairs, violating Section 902 of the 2010 Accessibility Standards. Mr. Eiferman
   was unable to dine comfortably due to a lack of accessible tables.

   h)     Entering tenants is impeded by a lack of maneuvering space, slopes beyond limits
   and/or abrupt changes of level at the base, violating Section 404 of the 2010 Accessibility



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      Standards. Abrupt changes of level and slopes can cause damage to Mr. Eiferman's
      wheelchair. Mr. Eiferman was unable to fit in some doors do to a lack of accessibility.

      Restrooms

      i)     Restrooms at 2431 Church Road Center including Korean Restaurant, Tara's Nail
      Spa and 7 Hair were reported to be unsafe for use by the plaintiff. Inspection revealed
      Mr. Eiferman was unable to use the restrooms safely due to a lack of accessibility.
      Including, inaccessible water closets which lack proper controls and wheelchair
      maneuvering space violating Section 601 of the 2010 AccessibilityStandards.

      j)      Restrooms at Korean Restaurant, Tara's Nail Spa and 7 Hair provide dispensers
      beyond reach of wheelchair users and are inaccessible to the plaintiff, violating Section
      308 of the 2010 Accessibility Standards.

      k)     Lavatories at Korean Restaurant, Tara's Nail Spa and 7 Hair lack k nee clearance
      and accessibility preventing the plaintiff from freely accessing the lavatory, violating
      Section 606 the 2010 Accessibility Standards.

      1)      Korean Restaurant, Tara's Nail Spa and 7 Hair provides restrooms that contain
      improper centerlines for the water closets and flush controls mounted on the wall side,
      violating Section 604 of the 2010 Accessibility Standards. Mr. Eiferman was unable to
      access flush controls while in the restrooms due to improper location.

      m)      Using restrooms doors at Korean Restaurant, Tara's Nail Spa and 7 Hair is
      impeded by round door knobs, improper signage and a lack of maneuvering clearance,
      violating Section 404 of the 2010 Accessibility Standards. Round door knobs, stored
      goods and maneuvering space impede Mr. Eiferman from easily accessing doors.

      Maintenance

      n)     The accessible features of the facility are not maintained, creating barriers to
      access for the Plaintiff, as set forth herein, in violation of 28 CFR 36.211.

11.   All of the foregoing violations are also violations of the 1991 Americans with Disabilities

      Act Accessibility Guidelines (ADAAG), and the 2010 Standards for Accessible Design,

      as promulgated by the U.S. Department of Justice.

12.   The discriminatory violations described in paragraph 10 are not an exclusive list of the

      Defendant's ADA violations. Plaintiff requires the inspection of the Defendant's place of

      public accommodation in order to photograph and measure all of the discriminatory acts




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      violating the ADA and all of the barriers to access. Plaintiff and all other individuals

      similarly situated, have been denied access to, and have been denied the benefits of

      services, programs and activities of the Defendant's buildings and its facilities, and have

      otherwise been discriminated against and damaged by the Defendant because of the

      Defendant's ADA violations, as set forth above. Plaintiff and all others similarly situated

      will continue to suffer such discrimination, injury and damage without the immediate

      relief provided by the ADA as requested herein. In order to remedy this discriminatory

      situation, the Plaintiff requires an inspection of the Defendant's place of public

      accommodation in order to determine all of the areas of non-compliance with the

      Americans with Disabilities Act.

13.   Defendant has discriminated against the Plaintiff by denying him access to the full and

      equal enjoyment of the goods, services, facilities, privileges, advantages and/or

      accommodations of its place of public accommodation or commercial facility in violation

      of 42 U.S.C. § 12181 et seq. and 28 CFR 36.302 et sea. Furthermore, the Defendant

      continues to discriminate against the Plaintiff, and all those similarly situated, by failing

      to make reasonable modifications in policies, practices or procedures, when such

      modifications are necessary to afford all offered goods, services, facilities, privileges,

      advantages or accommodations to individuals with disabilities; and by failing to take such

      efforts that may be necessary to ensure that no individual with a disability is excluded,

      denied services, segregated or otherwise treated differently than other individuals because

      of the absence of auxiliary aids and services.

14.   Plaintiff is without adequate remedy at law and is suffering irreparable harm.

      Considering the balance of hardships between the Plaintiff and Defendant, a remedy in




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      equity is warranted. Furthermore, the public interest would not be disserved by a

      permanent injunction.

15.   Plaintiff has retained the undersigned counsel and is entitled to recover attorney's fees,

      costs and litigation expenses from the Defendant pursuant to 42 U.S.C. § 12205 and 28

      CFR 36.505.

16.   Defendant is required to remove the existing architectural barriers to the physically

      disabled when such removal is readily achievable for its placeof public accommodation

      that have existed prior to January 26,1992, 28 CFR 36.304(a); in the alternative, if there

      has been an alteration to Defendant's place of public accommodation since January 26,

      1992, then the Defendant is required to ensure to the maximum extent feasible, that the

      altered portions of the facility are readily accessible to and useableby individuals with

      disabilities, including individuals who use wheelchairs, 28 CFR 36.402; and finally, if the

      Defendant's facility is one which was designed and constructed for first occupancy

      subsequent to January 26,1993, as defined in 28 CFR 36.401, then the Defendant's

      facility must be readily accessible to and useableby individuals with disabilities as

      defined by the ADA.

17.   Notice to Defendant is not required as a result of the Defendant's failure to cure the

      violations by January 26, 1992 (or January 26, 1993,if Defendant has 10 or fewer

      employees and gross receipts of $500,000 or less). All other conditions precedent have

      been met by Plaintiff or waived by the Defendant.

18.   Pursuant to 42 U.S.C. § 12188, this Court is provided with authority to grant Plaintiff

      Injunctive Relief, including an order to require the Defendant to alter 2431 Church Road

      Center to make its facilities readily accessible and useable to the Plaintiffs and all other




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      persons with disabilities as defined by the ADA; or by closing the facility until suchtime

      as the Defendant cures its violations of the ADA. The order should further request the

      Defendant to maintain the required accessible features on an ongoing basis.

      WHEREFORE, Plaintiff respectfully request:

19.   The Court issue a Declaratory Judgment that determines that the Defendant at the

      commencement of the subject lawsuit is in violation ofTitle III of the Americans with

      Disabilities Act, 42 U.S.C. § 12181 et seq.

20.   Injunctive relief against the Defendant including an order to make all readily achievable

      alterations to the facility; or to make such facility readily accessibleto and usable by

      individuals with disabilities to the extent required by the ADA; and to require the

      Defendant to make reasonable modifications in policies, practices or procedures, when

      such modifications are necessary to afford all offered goods, services, facilities,

      privileges, advantages or accommodations to individuals with disabilities; and by failing

      to take such steps that may be necessary to ensure that no individual with a disability is

      excluded, denied services, segregated or otherwise treated differently than other

      individuals because of the absence of auxiliary aids andservices.

21.   An award of attorney's fees, costs and litigation expenses pursuant to 42 U.S.C. § 12205.

22.   Such other relief as the Court deems just and proper, and/or is allowable under Title III of

      the Americans with Disabilities Act.

                              COUNT II
         VIOLATION OF NEW JERSEY LAW AGAINST DISCRIMINATION

23.   Plaintiff re-alleges all prior obligations as if fully set forth herein. Plaintiff repeats the

      allegations contained in all of the proceeding paragraphs.

24.   Defendant's facility is a place of public accommodation as defined by N.J.S.A.10:5-5,



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        (New Jersey Law Against Discrimination).

25.     New Jersey law provides that all persons shall have the opportunity to obtain all the

        accommodations, advantages, facilities and privileges of any place of public

        accommodation without discrimination on the basis of disability. This opportunity is

        recognized and declared to be a civil right. (See, N.J.S.A. 10:5-4.)

26.     As a result of the aforementioned discrimination, Plaintiff, Theodore G. Eiferman has

        sustained emotional distress, mental anguish and suffering and humiliation, and other

        injuries, in violation of the New Jersey Law Against Discrimination.

        WHEREFORE, Theodore G. Eiferman demands judgment for injunctive relief,

damages, attorneys' fees, litigation expenses, including expert fees and costs pursuant to the New

Jersey Law Against Discrimination.

Date:   /iA(x\j 2)0,acM                       RespectMy


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